          Case 2:17-cv-01095-KOB Document 28 Filed 01/31/18 Page 1 of 1                                FILED
                                                                                              2018 Jan-31 PM 01:13
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

JAMES WALTHALL,                                ]
                                               ]
       Plaintiff,                              ]
                                               ]
v.                                             ]                CIVIL ACTION NO.:
                                               ]                 2:17-CV-1095 KOB
EQUIFAX INFORMATION                            ]
SERVICES, INC., et al.,                        ]
                                               ]
       Defendants.                             ]

              ORDER OF DISMISSAL OF PLAINTIFF’S CLAIMS AGAINST
                        DEFENDANT TRANS UNION, LLC

       In accordance with the parties’ Joint Stipulation of Dismissal with Prejudice, filed

January 31, 2018 (doc. 27), the court hereby orders that this action against Trans Union, LLC,

(only), shall be, and is, DISMISSED WITH PREJUDICE. Said parties to bear their own costs,

expenses, and attorney’s fees. The Clerk of the Court is directed to terminate Trans Union, LLC

as a defendant in this matter.

       Plaintiff’s claims against defendants Equifax Information Services, Inc., and Experian

Information Solutions, Inc., remain before the court.

       DONE and ORDERED this 31st day of January, 2018.




                                                   ____________________________________
                                                   KARON OWEN BOWDRE
                                                   CHIEF UNITED STATES DISTRICT JUDGE
